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                     THE UNITED STATES DISTRICT COURT
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  SOVEREIGN IÑUPIAT FOR A                  Case No. 3:23-cv-00058-SLG
  LIVING ARCTIC,
  et al.,

                             Plaintiffs,

                      v.

  BUREAU OF LAND
  MANAGEMENT, et al.

                           Defendants,

                                   and

  CONOCOPHILLIPS ALASKA, INC.,
  et al.,

             Intervenor-Defendants.



                 REPLY IN SUPPORT OF SUMMARY JUDGMENT




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                   LIST OF SHORT NAMES AND ACRONYMS


      APA                       Administrative Procedure Act

      BiOp                      Biological Opinion

      BLM                       Bureau of Land Management

      ConocoPhillips            ConocoPhillips Alaska, Inc.

      EIS                       Environmental Impact Statement

      ESA                       Endangered Species Act

      FWS                       U.S. Fish and Wildlife Service

      GHG                       Greenhouse Gas

      Greater Willow 1 and 2    GW 1 and GW 2

      ITS                       Incidental Take Statement

      MMPA                      Marine Mammal Protection Act

      NEPA                      National Environmental Policy Act

      NPRPA                     Naval Petroleum Reserves Production Act

      Reserve                   National Petroleum Reserve-Alaska

      ROD                       Record of Decision

      SEIS                      Supplemental Environmental Impact Statement

      SILA                      Sovereign Iñupiat for a Living Arctic

      Willow                    Willow Master Development Plan




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                                    INTRODUCTION

       Federal Defendants (collectively, Interior), Intervenor-Defendants ConocoPhillips

Alaska, Inc. (ConocoPhillips), State of Alaska (State), North Slope Borough (Borough),

Arctic Slope Regional Corporation (ASRC), and Kuukpik Corporation (Kuukpik) fail to

show that the Bureau of Land Management (BLM) and Fish and Wildlife Service (FWS)

complied with the National Environmental Policy Act (NEPA), Naval Petroleum

Reserves Production Act (NPRPA), Alaska National Interest Lands Conservation Act

(ANILCA), and the Endangered Species Act (ESA) in their respective approvals of the

Willow Master Development Plan (Willow). The court should grant summary judgment

for Plaintiffs Sovereign Iñupiat for a Living Arctic et al. (collectively SILA) and vacate

the Record of Decision (ROD) and other authorizations issued by BLM and FWS’s

Biological Opinion (BiOp).

                                       ARGUMENT

 I. BLM VIOLATED NEPA AND THE NPRPA.

       A. BLM’s Alternatives Analysis Violates NEPA and the NPRPA.

       Defendants focus extensively on BLM’s evaluation of Alternative E in the

supplemental environmental impact statement (SEIS). 1 But this obfuscates the same

fundamental failure in the SEIS that this court previously identified: failing to consider




       1
        See e.g., Defs.’ Mem. in Opp’n to Pls.’ Mots. for Summ. J. 27-32, ECF No. 137
[hereinafter Feds.]; North Slope Borough Resp. in Opp’n to Pls.’ Mots. for Summ. J. 15-
16, ECF No. 143 [hereinafter NSB].

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more protective alternatives based on erroneous assumptions about the scope of

ConocoPhillips’ lease rights and BLM’s statutory obligations. 2 Interior attacks a

strawman by arguing that BLM cannot preclude development in the Reserve or Special

Areas. 3 The issue is not whether BLM can or should forbid all development on

ConocoPhillips’ leases or prohibit all infrastructure in the Teshekpuk Lake Special Area

(TLSA). 4 Rather, the question is whether BLM failed to consider a reasonable range of

alternatives based on the agency’s assumption that it could not strand an “economically

viable quantity of recoverable oil.” 5

       Under the plain language of the NPRPA and its regulations, BLM may restrict and

prohibit activities on existing leases, 6 including by denying drilling permits. 7

Additionally, nothing in the NPRPA or ConocoPhillips’ leases entitles the company to

extract all economically recoverable oil. 8 While the NPRPA may contemplate some

development in Special Areas, it does not mandate that development, as the court


       2
         Sovereign Iñupiat for a Living Arctic v. BLM (SILA), 555 F. Supp. 3d 739, 770
(D. Alaska 2021).
       3
         Feds. 33 n.7.
       4
         ConocoPhillips Alaska, Inc.’s Opp. to Mots. for Summ. J. 25, ECF No. 141
[hereinafter CPAI]; Feds. 27.
       5
         SILA Opening Br. 20-23, ECF No. 105 [hereinafter SILA]; AR821948;
AR815445.
       6
         42 U.S.C. § 6506a(n)(2); 43 C.F.R. § 3135.2(a)(1), (3); see id. § 3162.3-1(h)(2);
see also SILA 18-19.
       7
         42 U.S.C. § 6506a(k)(2); see also Alaska Indus. Dev. & Export Auth. v Biden
(AIDEA), 2023 U.S. Dist. LEXIS 136474, at *23 (D. Alaska Aug. 7, 2023)
(acknowledging NPRPA grants Secretary broad authority, notwithstanding oil and gas
program).
       8
         SILA 18-20, 24 n.70.

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previously observed. 9 BLM unlawfully constrained its analysis and failed to consider

more protective alternatives, consistent with its mandates under the NPRPA. 10 As a

result, BLM considered only the no action alternative and a group of substantially similar

action alternatives, each allowing development of all, or nearly all, of the recoverable oil

and gas under ConocoPhillips’ leases. 11

       Interior’s arguments regarding deference to its interpretation of the NPRPA’s dual

mandate are misplaced. 12 SILA does not challenge BLM’s interpretation of the statute’s

mandate. Rather, SILA points out that BLM did not apply the correct legal standard when

evaluating alternatives and potential mitigation measures because it failed to recognize its

own authority to reasonably restrict ConocoPhillips’ activities. 13 ASRC’s reliance on

National Audubon Society v. Kempthorne is similarly off base. 14 There, the court rejected


       9
          SILA, 555 F. Supp. 3d at 769. The Court’s prior observation that infrastructure is
permissible in TLSA does not absolve BLM of the duty to consider alternatives that
provide maximum protection to Special Areas or comply with NEPA. See Feds. 33;
CPAI 25.
        10
           42 U.S.C. §§ 6504(a), 6506a(b).
        11
           SILA 23 (explaining BLM’s most restrictive alternative reduced oil recovery by
less than 3%).
        12
           Feds. 40 (citing Klamath Siskiyou Wildlands Ctr. v. Gerritsma, 962 F. Supp. 2d
1230, 1235 (D. Or. 2013), aff’d, 638 F. App’x 648 (9th Cir. 2016)). While the Court in
Klamath deferred to the agency’s finding that impacts would be minimized, it was not
evaluating the agency’s interpretation of a statutory mandate to “minimize” impacts. Id.,
contra Feds. 40.
        13
           Supra nn.6-8. BLM must include or provide conditions and restrictions on oil
and gas activities and may prohibit activities to protect the Reserve’s surface resources.
42 U.S.C. § 6506a(b). This includes activities on existing leases. Id. § 6506a(k)(2); see
also 43 C.F.R. §§ 2361.1(a), (e)(1), 3162.3-1(h)(2).
        14
           2006 U.S. Dist. LEXIS 110152 (D. Alaska Sep. 25, 2006); Arctic Slope Reg’l
Corp.’s Summ. J. Br. 17-20, ECF No. 142 [hereinafter ASRC].

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plaintiffs’ arguments that the NPRPA’s protective mandate “would bar any leasing in the

TLSA” and held Interior must balance the statute’s protective mandate with an oil and

gas program. 15 Intervenor-Defendants also rely on the Ninth Circuit’s acknowledgement

in Northern Alaska Environmental Center v. Kempthorne (Northern) 16 that BLM could

not entirely forbid oil and gas when evaluating leasing alternatives at the Reserve’s

management plan stage. 17 Both holdings are irrelevant because SILA does not argue

BLM should have forbidden all oil and gas development. As SILA explained, BLM

misinterpreted the NPRPA by taking a legally flawed view of ConocoPhillips’ lease

rights, thereby limiting the agency’s ability to meet its protective mandates. 18 Moreover,

the court in Northern recognized BLM’s ability to accept, reject, or modify applications

for future activities and assumed the agency could deny applications altogether. 19 This

reinforces SILA’s argument that BLM should have considered a more protective

alternative.

       Defendants do not meaningfully distinguish between BLM’s previous unlawful

elimination of alternatives based on ConocoPhillips’ “right to extract all the oil and gas




       15
          Nat’l Audubon Soc’y, 2006 U.S. Dist. LEXIS 110152, at *44.
       16
          457 F.3d 969 (9th Cir. 2006); CPAI 20-21; NSB 14.
       17
          457 F.3d at 976-77.
       18
          SILA 20-24. The Borough’s argument that surface protections are subservient to
oil and gas also overlooks that BLM “shall” protect resources when administering the oil
and gas program. 42 U.S.C. § 6505a(b); Portland Adventist Med. Ctr. v. Thompson, 399
F.3d 1091, 1098 (9th Cir. 2005) (stating “shall” is mandatory); see NSB 16-17.
       19
          457 F.3d at 976-77.

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possible within the leased areas,” 20 and its present view that it cannot “strand an

economically viable quantity of recoverable oil” 21 or disallow full-field development. 22

BLM’s definition of “economically viable amount of oil” as oil that ConocoPhillips

proposes to develop underscores the agency’s assumption that ConocoPhillips had a legal

right to access all recoverable oil beneath its leases. 23 ConocoPhillips fails to articulate a

practical difference between allowing recovery of all oil versus all oil that is

economically feasible to recover. 24 It strains credulity to imply that the company would

seek to recover oil that is uneconomic to develop. 25 The screening criteria BLM used in

2020 are, therefore, virtually indistinguishable from the criteria it used in 2023 and

violate NEPA. 26

       Interior’s argument regarding 43 C.F.R. § 3137.71(b)(1) ignores BLM’s

statements in the record. 27 SILA agrees this provision does not limit BLM’s authority to




        SILA, 555 F. Supp. 3d at 770.
       20

        AR821965.
       21
     22
        E.g., AR821709.
     23
        SILA 20 n.51.
     24
        CPAI 22-24.
     25
        Indeed, the 2020 ROD allowed for production of 91% of the oil beneath
ConocoPhillips’ leases, i.e., the amount of oil which was economic to recover.
AR505788.
     26
        SILA, 555 F. Supp. 3d at 768.
     27
        Feds. 33 n.7.

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restrict or condition activities. 28 The problem is that BLM relied on it in the final SEIS as

a reason to eliminate more protective alternatives. 29

       Intervenor-Defendants’ assertions that BLM appropriately considered only full-

field development to avoid a “piecemeal” analysis should be rejected. 30 Intervenor-

Defendants conflate BLM’s obligation to examine the full range of impacts from

ConocoPhillips’ proposal with BLM’s obligation to evaluate reasonable alternatives and

mitigation measures. 31 Focusing on only the maximum potential impacts of a project does

not meet NEPA’s mandate. 32

       B. Alternative E Does Not Redeem BLM’s Flawed Analysis.

       Despite its reduced footprint, Alternative E and the elimination of the Bear Tooth

(BT) 4 drillsite and disapproval of BT5 in the ROD do not redeem BLM’s unlawful

alternatives analysis. Interior points to the purported environmental benefits of

Alternative E as adopted in the ROD but fails to account for the fact that BLM’s prior


       28
            SILA 20.
       29
            AR814575-76; AR821740; AR821709-10 (excluding alternatives precluding
ConocoPhillips from “fully develop[ing]” reservoir); Motor Vehicle Mfrs. Ass'n v. State
Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (“[A]n agency’s action must be upheld,
if at all, on the basis articulated by the agency itself.”).
         30
            Kuukpik Corp.’s Resp. in Opp’n to Mots. for Summ. J. 23-26, ECF No. 144
[hereinafter Kuukpik]; CPAI 23-24.
         31
            42 U.S.C. § 4332(2)(C)(i).
         32
            See, e.g., NRDC v. U.S. Forest Serv., 421 F.3d 797, 814 (9th Cir. 2005) (failing
to consider more protective alternatives); Cal. v. Block, 690 F.2d 753, 767 (9th Cir. 1982)
(rejecting decision where agency limited consideration to alternatives allowing maximum
development); Se. Alaska Conservation Council v. U.S. Forest Serv., 443 F. Supp. 3d
995, 1013-14 (D. Alaska 2020); Neighbors of the Mogollon Rim v. USFS, No. 22-15259,
2023 U.S. App. LEXIS 11031, at *4 (9th Cir. May 5, 2023).

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unlawful approval likewise authorized only three drill sites. 33 While Interior is correct

that BLM disapproved rather than deferred the BT5 drill site this time, BLM did not deny

BT4. 34 Alternative E enlarged and relocated BT2 to allow for recovery of the majority of

the oil beneath the BT4 pad. 35

        As before, it does not follow that BLM complied with its statutory mandates or

considered a reasonable range of alternatives simply because it did not approve every pad

ConocoPhillips proposed. 36 Defendants focus on the ROD’s mitigation measures, and

slightly reduced footprint and impacts compared to other alternatives. 37 But those

measures do not negate the fact that BLM improperly screened out alternatives and

measures that would preclude full-field development of the Willow reservoir from

analysis at the start. 38

        Defendants point to BLM’s screening and elimination process to argue BLM

satisfied NEPA and reasonably explained its decision not to consider additional

alternatives. 39 While the agency may have provided a lengthier explanation, its similar



        33
          Feds. 30; AR186056; SILA 23.
        34
          Feds. 30.
       35
          AR501814; see also SILA 22-23 & n.62.
       36
          SILA, 555 F. Supp. 3d at 753; see Rocky Mt. Wild v. Bernhardt, 506 F. Supp. 3d
1169, 1186 (D. Utah 2020) (rejecting BLM’s range of alternatives because “BLM’s
position confuses the power to act with the requirement to analyze”).
       37
          AR824892; Feds. 31-34, 39-40. Interior points to the 2022 Integrated Activity
Plan (IAP) decision but fails to identify what stipulations resulted in a “significant
difference” in Willow’s impacts. Feds. 30 n.6.
       38
          AR501182-83; AR821737, AR821739; see also supra n.32.
       39
          Feds. 29, 32-33; CPAI 21; Kuukpik 23; NSB 17-19.

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substantive reasons for rejecting reasonable alternatives are still unlawful. 40 Kuukpik’s

argument that BLM’s misinterpretation only led it to reject three potential alternatives is

immaterial because failing to consider viable alternatives violates NEPA. 41 Further, the

issue is not that every action alternative was indistinguishable in terms of miles of roads,

acres of gravel, etc. Because BLM arbitrarily limited its consideration of alternatives at

the outset of the process to those which would only affect ConocoPhillips’ resource

recovery by small fractions, the issue is that it failed to consider a reasonable range of

alternatives, contrary to NEPA’s goals of public participation and transparent agency

decision-making. 42

       Defendants are incorrect that SILA did not identify other reasonable alternatives

or simply wanted an alternative with no infrastructure in the TLSA. 43 SILA identified

reasonable alternatives, such as eliminating additional pads in setbacks or further limiting

greenhouse gas emissions. 44 However, the agency refused to carry these forward based

on its flawed reading of its authority. 45

       Defendants’ arguments that BLM was not obligated to consider alternatives

unrelated to the project purpose also mischaracterize SILA’s point. 46 Nothing in BLM’s


       40
          5 U.S.C. § 706(2)(A), (D); see also SILA 20-24.
       41
          Westlands Water Dist. v. U.S. Dep’t of the Interior, 376 F.3d 853, 868 (9th Cir.
2004); see Kuukpik 23.
       42
          Westlands Water Dist., 376 F.3d at 868.
       43
          Feds. 27; CPAI 25.
       44
          AR704837-43 (comments suggesting alternatives).
       45
          Supra Argument I.A.
       46
          Feds. 32-33; NSB 14.

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purpose and need precluded the agency from considering alternatives that would shift

infrastructure out of the TLSA or other sensitive ecosystems like the Fish Creek

setback. 47 An EIS must analyze every reasonable alternative within the proposals’ nature

and scope. 48 Reducing access to some of the oil and gas under ConocoPhillips’ leases

does not mean the project’s purpose would be unmet. 49

       Finally, Defendants cite cases for the proposition that SILA’s suggested

alternatives are outside NEPA’s “rule of reason” or that that BLM was not required to

consider an additional “middle ground” alternative because the existing range was

adequate. 50 These cases are inapposite because SILA suggested reasonable alternatives

consistent with the project’s purpose and the NPRPA’s requirements to mitigate impacts

on surface resources. 51 Interior states that BLM’s “expanded discussion” of the no action

alternative provided for informed decision-making, 52 but that does not excuse BLM’s

failure to consider a reasonable range of alternatives, including one or more that achieve




       47
          SILA 13, 22; AR820723–24 (purpose and need statement).
       48
          Alaska Survival v. Surface Transp. Bd., 705 F.3d 1073, 1087 (9th Cir. 2013).
       49
          SILA 24; see also W. Watersheds Project v. Bernhardt, 543 F. Supp. 3d 958,
983 (D. Idaho 2021) (rejecting agency’s alternatives because development and protective
measures were not “mutually exclusive” or “contrary to the purpose and need”).
       50
          Feds. 34; NSB 16.
       51
          Cf. Montana Wilderness Ass’n v. Connell, 725 F.3d 988, 1004-05 (9th Cir.
2013) (upholding decision where Plaintiff did not explain why additional middle-ground
alternative would foster informed decision-making); Westlands Water Dist., 376 F.3d at
871-72 (not requiring consideration of additional middle-ground alternatives that would
not meet project purpose).
       52
          Feds. 34; SILA 21.

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greater resource protection by reducing ConocoPhillips’ oil recovery by more than a

small percentage.

II. BLM VIOLATED ANILCA SECTION 810 BY FAILING TO CONSIDER ALTERNATIVES
    THAT REDUCE IMPACTS TO SUBSISTENCE USES.

       BLM failed to consider alternatives to reduce impacts to subsistence users as

required by ANILCA Section 810. Contrary to Interior’s and Kuukpik’s assertions, 53 in

its ANILCA Section 810 analysis and throughout its decision-making process, BLM

indicated it eliminated alternatives from consideration on the basis that it could not strand

economically viable quantities of recoverable oil. 54 As a result, BLM improperly limited

the scope of the alternatives it considered for the purposes of its Tier 1 analysis under

Section 810. 55 Further, by misinterpreting its own statutory authority and obligations,

BLM also failed to meet its Tier 2 obligations to ensure its decision involved the

minimum amount of public lands necessary and included reasonable steps to minimize

impacts to subsistence. 56 Had BLM not improperly limited the scope of its analysis, it

could and should have considered other options to minimize Willow’s impacts to

subsistence. 57



       53
          Feds. 45; Kuukpik 19.
       54
          AR 821965; AR821958-59; AR820701; AR501204-05.
       55
          SILA 26-28; Tenakee Springs v. Clough, 750 F. Supp. 1406, 1421 (D. Alaska
1990) (indicating the agency’s contractual obligations should not preempt laws designed
to protect subsistence), rev’d on other grounds, 915 F.2d 1308 (9th Cir. 1990).
       56
          SILA 29. Contrary to Interior’s assertion, SILA does challenge BLM’s failure to
take reasonable steps to minimize adverse impacts to subsistence. Id.; Feds. 45 n.13.
       57
          AR704837-43.

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       Intervenor-Defendants’ dismissal of Tenakee Springs v. Clough ignores the core

holding of that and other relevant cases: where an agency confines how it interprets the

scope of its authority under a statute or contract, and thereby limits its consideration of

alternatives, it acts contrary to Section 810’s mandate to minimize impacts to

subsistence. 58 The Borough’s reliance on Kunaknana v. Clark for the proposition that

BLM’s obligations under Section 810 are limited by the Reserve’s oil and gas program is

also misplaced. 59 While Kunaknana considered that question at the leasing stage, the

court recognized the agency was obligated to protect subsistence at later stages as well. 60

The language of the statute makes clear that Section 810 applies to permits for site-

specific development. 61 Intervenors’ reliance on Hoonah Indian Ass’n v. Morrison is

similarly misplaced because SILA is not arguing subsistence impacts override all other

uses. 62 Consistent with the Court’s reasoning in Hoonah, BLM failed to comply with

Section 810 here because it unlawfully limited its consideration of options that could use

the “minimal” amount of lands “necessary” for oil development. 63

       Defendants’ arguments that BLM satisfied Section 810 by developing Alternative

E overstate the impact of Alternative E’s measures and are contrary to BLM’s own


       58
          NSB 22; Kuukpik 20; Tenakee Springs, 915 F.2d at 1311–12; Alaska
Wilderness Recreation & Tourism Ass’n v. Morrison, 67 F.3d 723, 731 (9th Cir. 1995).
       59
          NSB 24.
       60
          742 F.2d 1145, 1152 (9th Cir. 1984).
       61
          16 U.S.C. § 3120(a).
       62
          170 F.3d 1223 (9th Cir. 1999); NSB 23; Kuukpik 19 n.55.
       63
          NSB 23-24; Hoonah, 170 F.3d at 1230; supra pp. 8-9 (explaining BLM’s failure
to consider smaller project consistent with purpose and need).

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findings. 64 First, Interior’s focus on Alternative E as reducing indirect impacts ignores

that the agency still found overall that Alternative E would only marginally reduce

Willow’s impacts to subsistence users. 65 Despite Alternative E’s mitigation measures,

BLM found there would be significant impacts to subsistence, regardless of whether

those impacts were direct or indirect. 66 While BLM stated in the final SEIS that

Alternative E could reduce indirect impacts, BLM did not alter its final findings that no

alternative meaningfully reduced significant subsistence impacts. 67

       Defendants’ assertions that ConocoPhillips’ proposal and Alternative E presented

significantly different impacts, particularly regarding caribou deflection, are contradicted

by the agency’s findings. 68 While BLM found the reduction in infrastructure “could

lessen the frequency or severity of deflection of caribou,” BLM acknowledged that, even

with those changes, “many caribou would still encounter roads, including the pinch point

where the access road intersects with infield roads, during their migration south.” 69 When

looking at indirect impacts, BLM concluded overall that only a “slightly smaller

percentage of Nuiqsut harvesters (88%) would be affected under Alternative E compared

to Alternative B (91%),” with that difference largely relating to goose hunting, not


       64
         Feds. 43-45; NSB 21-22, 24; Kuukpik 17-18.
       65
         Feds. 43-44 & n.12; SILA 18; AR824339-40.
      66
         SILA 26-27; AR821062.
      67
         SILA 26; AR824339.
      68
         Feds. 45; NSB 21-22.
      69
         AR824339. The elimination of BT5 did not change this because the particularly
impactful east to west infrastructure and the pinch point stayed the same. AR824894
(map of selected project).

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caribou hunting. 70 BLM similarly concluded that, “while the decrease in infrastructure

within the TLSA may reduce deflection of caribou and lessen impacts on resource

availability for Nuiqsut harvesters, the difference in direct impacts on caribou hunters

would be minimal.” 71 Even with the changes in Alternative E, BLM concluded the

project “is likely to deflect … caribou from areas where Nuiqsut hunters harvest them.” 72

       Finally, Defendants’ argument that the inclusion of the Tier-2 determinations in

the ROD was appropriate because BLM indicated those findings would be in the ROD

does not cure BLM’s procedural violation. 73 Section 810(b) requires those findings be

included in the EIS. 74

III. BLM VIOLATED NEPA BY FAILING TO ADEQUATELY ASSESS WILLOW’S
     REASONABLY FORESEEABLE GHG EMISSIONS AND CLIMATE IMPACTS.

       Interior’s post hoc argument in its brief that Greater Willow 1 and 2 (GW-1 and

GW-2) are not reasonably foreseeable is directly contradicted by the record. 75 BLM

specifically identified GW-1 and GW-2 as reasonably foreseeable future actions that

would rely on and expand Willow’s infrastructure. 76 As such, BLM was required to do a



       70
         AR824339.
       71
         AR824339-40.
      72
         AR824340.
      73
         Feds. 44; NSB 22-23 n.4; Kuukpik 20.
      74
         16 U.S.C. § 3120(b); SILA 29; see also Se. Alaska Conserv. Council, 443 F.
Supp. 3d at 1015 (noting requirement to include findings in EIS).
      75
         Feds. 36. SILA’s and CBD’s arguments are not inconsistent. Feds. 36 n.8. They
are complementary in that SILA argues that Greater Willow’s emissions are both indirect
and cumulative impacts.
      76
         AR822689-93; AR821122.

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quantified analysis of the reasonably foreseeable impacts of the Greater Willow

development’s greenhouse gas (GHG) emissions but failed to do so. 77

         Interior’s reliance on Chilkat Indian Klukwan v. BLM (Chilkat) is misplaced. 78 In

Chilkat, the agency did not acknowledge future mining activities were reasonably

foreseeable, and the record did not contain specific, quantifiable information regarding

future development on which to base an analysis. 79 Unlike Chilkat, BLM expressly

identified GW-1 and GW-2 as reasonably foreseeable 80 and had enough information to

calculate the pads’ projected downstream emissions. 81 Interior cannot claim that these

projects were not foreseeable when BLM previously acknowledged the opposite. 82

         ConocoPhillips advances an argument Interior did not — that BLM fully

quantified the foreseeable emissions from GW-1 and GW-2 as part of the analysis of




         77
              Ctr. for Biological Diversity v. Bernhardt (CBD I), 982 F.3d 723, 737 (9th Cir.
2020).
          399 F. Supp. 3d 888 (D. Alaska 2019); Feds. 36–37. The language Interior relies
         78

on in Chilkat was removed from the underlying Ninth Circuit decision. Lands Council v.
Powell, 395 F.3d 1019, 1023 (9th Cir. 2005) (amended).
       79
          399 F. Supp. 3d at 921-22.
       80
          AR822689-93; AR821122.
       81
          AR821124; SILA 31.
       82
          Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1908-
09 (2020) (recognizing post hoc rationales should not be accepted); see also N. Plains Re.
Council, Inc. v. Surface Transp. Bd., 668 F.3d 1067, 1079 (9th Cir. 2011) (indicating
reasonably foreseeable actions need to be considered even when not specific proposals).

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foreseeable downstream emissions. 83 But the record indicates BLM only quantified a

limited subset of GW-1 and GW-2’s direct emissions. 84

       Contrary to Interior’s assertion in its brief, the final SEIS did not disclose all the

projected emissions from foreseeable development in the Reserve because BLM did not

calculate the foreseeable downstream emissions from burning Greater Willow’s projected

75 million barrels of oil. 85 BLM’s calculation of some, but not all, of the foreseeable

GHG emissions from Greater Willow underscores that BLM’s analysis was incomplete. 86

       ConocoPhillips’ extensive reliance on the Reserve’s IAP to claim BLM looked at

Greater Willow’s downstream emissions is misleading and manufactures an argument the

agency itself did not provide. 87 The IAP’s emissions analysis was for a hypothetical

development scenario and did not directly calculate the foreseeable emissions from

Greater Willow. 88 Regardless, BLM’s specific statements about GW-1 and GW-2 in the

Willow SEIS indicate BLM did not look at all the foreseeable emissions from Greater


       83
          CPAI 27-29.
       84
          CPAI 26; AR822689-90; AR821126 (only listing direct emissions from GW-1
and GW-2’s developmental drilling in cumulative impacts analysis).
       85
          Feds. 37.
       86
          SILA 32; Cook Inletkeeper v. Raimondo, 533 F. Supp. 3d 739, 755 n.87 (D.
Alaska 2021) (indicating where agency “opted” to quantify take, it needed to do so in
non-arbitrary manner); supra n.82 (rejecting post hoc rationales). BLM arbitrarily
excluded construction and operations emissions when identifying Greater Willow’s
emissions in the cumulative impacts analysis. SILA 32; AR821126. ConocoPhillips’
argument that SILA waived this argument fails. Commenters flagged BLM was obligated
to look at Greater Willow’s foreseeable emissions and that was sufficient notice.
AR704894; Chilkat, 399 F. Supp. 3d at 912.
       87
          CPAI 27.
       88
          FWS_AR364010.

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Willow, nor did it point to the IAP as calculating those emissions. 89 Defendants cannot

hide behind the IAP’s generalized, hypothetical analysis to counter BLM’s express

statements about what it considered for Greater Willow.

       ConocoPhillips’ reliance on Cascadia Wildlands v. BIA for the proposition that the

agency can aggregate its analysis is misplaced. 90 Cascadia says that, even if an agency

chooses to aggregate effects, it must be clear from the record that the agency considered

those impacts and documented that consideration. 91 Here, BLM purportedly calculated

the foreseeable emissions from GW-1 and GW-2 but did not include the downstream

emissions in those calculations. 92 BLM did not look at all of Greater Willow’s emissions,

aggregated or not.

       Interior’s attempt to distinguish Bark v. United States and City of Davis v.

Coleman on the ground that those cases related to environmental assessments (EA) and

whether impacts were significant also fail. 93 BLM’s obligation to quantify and consider

reasonably foreseeable impacts under NEPA is not limited to environmental

assessments. 94




       89
          AR822689-90; AR821126.
       90
          801 F.3d 1105, 1112 (9th Cir. 2015); CPAI 26.
       91
          801 F.3d at 1112.
       92
          AR 822689-90.
       93
          Feds. 38 & n.10; Bark, 958 F.3d 865 (9th Cir. 2020); City of Davis, 521 F.2d
661 (9th Cir. 1975).
       94
          40 C.F.R. § 1508.7; CBD I, 982 F.3d at 737.

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       Additionally, Interior’s argument that this Court already upheld the cumulative

effects analysis for Greater Willow in the prior lawsuit is misleading. 95 This Court did not

previously evaluate the current question: whether BLM met its specific obligation to

quantify Greater Willow’s reasonably foreseeable GHG emissions. 96 ConocoPhillips’

similar argument that SILA is precluded from challenging the emissions analysis is also

baseless. 97 For issue preclusion to apply, the same issue must be litigated and decided in

prior litigation between the same parties. 98 Whether BLM adequately assessed the

reasonably foreseeable GHG emissions in the 2023 SEIS was not at issue in the 2021

litigation, nor could it have been since the challenged analysis is new. 99




       95
          Feds. 35-36.
       96
          SILA, 555 F. Supp. 3d at 780-81; CBD I, 982 F.3d at 737.
       97
          CPAI 28. ConocoPhillips’ cited cases support that issue preclusion does not
apply here. Id.; Janjua v. Neufeld, 933 F.3d 1061, 1065-68 (9th Cir. 2019) (holding issue
preclusion did not apply because issue was not raised or decided previously); Robi v. Five
Platters, Inc., 838 F.2d 318, 326 (9th Cir. 1988) (requiring identical issue).
       98
          Amadeo v. Principal Mut. Life Ins. Co., 290 F.3d 1152, 1159 (9th Cir. 2002).
Environment America was not part of the prior litigation.
       99
          AR821126 (highlighting BLM’s new analysis); see Friends of the Clearwater v.
Probert, 2022 U.S. Dist. 45785, at *36-37 (D. Idaho Mar. 12, 2022) (holding plaintiffs
not barred since prior litigation involved different ROD); see also Conservation Nw. v.
Rey, 674 F. Supp. 2d 1232, 1243 (W.D. Wash. 2009) (same).

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IV. FWS AND BLM VIOLATED THE ESA.

       A. SILA Has Standing.

       ConocoPhillips’ and the State’s challenges to SILA’s standing are based on a

misunderstanding of the law and SILA’s claims. 100

       The State incorrectly asserts that SILA fails to show injury-in-fact to bring its

harassment claim. Regarding injury-in-fact, Courts focus on whether the violated

procedures are intended to protect a threatened interest of plaintiffs. 101 The Ninth Circuit

recognizes that the ESA’s consultation procedures protect scientific, aesthetic, economic,

and recreational interests in wildlife because they are “designed to advance the ESA’s

overall goal of species preservation.” 102 SILA’s members’ interests in polar bears meet

this standard. Robert Thompson guided polar bear viewing trips in the past and plans to

in the future. 103 He will be injured personally, culturally, and economically if this polar

bear population is harmed or reduced. 104 He shared his traditional knowledge about oil


       100
            See SILA 16-17; cf. CPAI 42-50; State of Alaska’s Response in Opp. to Mots.
for Summ. J. 9-22, ECF No. 145 [hereinafter SOA]. SILA has standing because it is an
independent entity, Decl. of Siqiñiq Maupin ¶ 7-14, ECF No. 105-9, regardless of
whether it receives administrative support from another entity. CPAI 42 n.142. The State
misunderstands the purpose of SILA’s declarations: they establish the plaintiff
organizations’ ability to bring this case on behalf of their members. SOA 11-13.
Additionally, if this Court finds standing for one plaintiff, that is sufficient for all
plaintiffs. Rumsfeld v. Forum for Academic and Institutional Rights, Inc., 547 U.S. 47, 52
n.2 (2006).
        101
            Ctr. for Biological Diversity v. Mattis, 868 F.3d 803, 816-17 (9th Cir. 2017).
        102
            Salmon Spawning & Recovery All. v. Gutierrez (Salmon Spawning), 545 F.3d
1220, 1225-26 (9th Cir. 2008).
        103
            Decl. of Robert James Thompson ¶ 3, ECF No. 105-7.
        104
            Id. ¶¶ 7-8, 12-13, 16.

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and gas development impacting polar bears by decreasing usable onshore habitat and

exacerbating climate change. 105 Daniel Ritzman explained that he has been to and plans

to return to the project area. 106 Mr. Ritzman also explained that he has observed polar

bears outside of Kaktovik and that Willow’s construction and development will harm his

opportunity to do so in the future. 107 The polar bear population that will be harmed by

Willow (Southern Beaufort Sea) is the same one that Mr. Thompson and Mr. Ritzman

enjoy. 108 SILA does not need to show that members view polar bears at the Willow site;

impacts to these polar bears will harm members’ ability to continue enjoying them across

their range. 109 Because SILA’s interests are in a migratory species, the State’s reliance on

cases where plaintiffs seek to protect a specific area are inapposite. 110

       ConocoPhillips argues that SILA failed to show causation and redressability for its

GHG consultation claim. 111 SILA’s challenge to FWS’s arbitrary BiOp is a procedural

claim, meaning the causation and redressability prongs of standing are relaxed. 112


       105
            Id. ¶¶ 8, 10-11, 14.
       106
            Decl. of Daniel Ritzman ¶¶ 26-32, ECF No. 105-3.
        107
            Id. ¶ 34, 38, 40.
        108
            Thompson Decl. ¶ 12; FWS AR032465 (range map); FWS AR032484-85;
AR820974.
        109
            See Ctr. for Biological Diversity v. Kempthorne, 588 F.3d 701, 707-08 (9th Cir
2009); Ctr. for Biological Diversity v. U.S. Dep’t of the Interior, 563 F.3d 466, 479 (D.C.
Cir. 2009); Mayo v. Jarvis, 177 F. Supp. 3d 91, 131 (D.D.C. 2016); Melone v. Coit, 2023
U.S. Dist. LEXIS 135701, *11 (D. Mass. Aug. 4, 2023) (indicating location of where
plaintiff observes wildlife “is irrelevant” where it is the same migratory population for
which agency authorized harassment); cf. SOA 12-17, 20-21.
        110
            SOA 16-19.
        111
            CPAI 42-50.
        112
            Salmon Spawning, 545 F.3d at 1229 (internal citations omitted).

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ConocoPhillips asserts that SILA’s GHG consultation claim lacks causality because

SILA cannot connect Willow’s emissions to impacts to polar bears. 113 This misrepresents

SILA’s consultation claim: Interior’s failure to consult on GHG impacts is a procedural

injury. 114 As such, SILA is not required to show that Willow’s GHG emissions

definitively cause impacts to polar bears. 115 It is undisputed that Willow will produce

downstream GHG emissions. It is also undisputed that GHGs cause climate change and

that climate change harms polar bears. 116 Interior’s failure to consult on these effects

harms SILA’s interests in polar bears. 117

       ConocoPhillips is also incorrect that SILA cannot show redressability because

climate change is a complex global problem. 118 Because SILA asserts a procedural

injury, SILA does not have to show that the substantive outcome will in fact be different



       113
           CPAI 44-48.
       114
           NRDC v. Jewell, 749 F.3d 776, 783 (9th Cir. 2014); Salmon Spawning, 545
F.3d at 1225-26; cf. CPAI 48-49.
       115
           Mattis, 868 F.3d at 817-18 (9th Cir. 2017) (explaining that for causation for
procedural injury, courts focus on process and not substantive result); see also Ecological
Rights Found. v. Pacific Lumber Co., 230 F.3d 1141, 1152 (9th Cir. 2000) (explaining
while causation cannot be “speculative” it is a lower bar than demonstrating success on
the merits); Barnum Timber Co. v. U.S. EPA, 633 F.3d 894, 901 (9th Cir 2011).
       116
           SILA 35 & nn.127-29.
       117
           ConocoPhillips’ reliance on Wildearth Guardians v. U.S. Forest Service, 70
F.4th 1212 (9th Cir. 2023), is misplaced. CPAI 48-49. There, plaintiffs sought to protect
wolves from lethal removal. The Court held plaintiffs lacked standing because the agency
did not regulate lethal removal or the third party that controlled wolf removal, or
participate in wolf removal. 70 F.4th at 1218. In stark contrast, here FWS is required to
consult on polar bears and to impose mitigation requirements on ConocoPhillips to avoid
jeopardy. 16 U.S.C. § 1536(b)(3)(A).
       118
           CPAI 45-50; see also SOA 22.

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— only that, if the proper procedure is followed, the government could better protect

SILA’s interests. 119 SILA’s requested relief is for BLM and FWS to consult on Willow’s

GHG emissions and associated impacts to polar bears to ensure compliance with the

mandates to ensure against jeopardy or adverse modification of critical habitat. 120 Given

the threats to polar bears from climate change, FWS could reach a different conclusion or

require additional mitigation measures after considering Willow’s GHG emissions. 121

SILA, therefore, demonstrated redressability. 122

       ConocoPhillips’ reliance on Washington Environmental Council v. Bellon 123 and

Julianna v. United States 124 is misplaced. 125 In Bellon, Plaintiffs sued to force the

Washington State Department of Ecology to directly regulate GHGs from refineries




       119
           Salmon Spawning, 545 F.3d 1226.
       120
           SILA 34-36.
       121
           Mattis, 868 F.3d at 819-20 (explaining courts remedy procedural defects by
ordering compliance with statutory obligations); W. Watersheds Project v. Grimm, 921
F.3d 1141, 1147 (9th Cir. 2019). ConocoPhillips’ declaration arguing Willow’s GHG
emissions will not ultimately harm polar bears addresses the merits of SILA’s claim,
which is not the proper standing inquiry. CPAI 47 n.164; Decl. of Anne E. Smith, Ph.D.,
ECF No. 141-3; Ecological Rights Found., 230 F.3d 1152; see also Cottonwood Envtl.
Law Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1082-83 (9th Cir. 2015) (rejecting
argument that plaintiffs must show reinitiating consultation would change outcome).
       122
           Because SILA meets all three standing requirements to bring its consultation
claims, supra pp. 18-21, it also demonstrates standing to challenge BLM’s reliance on the
unlawful BiOp.
       123
           732 F.3d 1131 (9th Cir. 2013).
       124
           947 F.3d 1159(9th Cir. 2020).
       125
           CPAI 44, 50. ConocoPhillips’ assertion that SILA cannot claim a procedural
injury based on Bellon, CPAI 48, ignores that the injury at issue there was not procedural.
732 F.3d at 1145.

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under the Clean Air Act, alleging injuries from GHG pollution. 126 The Court determined

the plaintiffs could not show that their injuries were caused by the agency’s failure to

regulate GHGs. 127 The Court also determined plaintiffs did not show that implementing

such regulations would redress their injuries. 128 In Juliana, plaintiffs sought to force the

federal government to adopt a plan to phase out fossil fuels. 129 The Court held that

plaintiffs’ claim was not redressable because the Court could not grant an injunction to

require and supervise the implementation of such a plan. 130 Unlike both of these cases,

SILA does not seek to force a substantive outcome requiring the agencies to regulate

GHGs. SILA seeks to enforce a procedural mandate: i.e., for BLM and FWS to consult

on the effects of Willow’s GHG emissions on polar bears. 131 These cases are, therefore,

inapposite and SILA has standing to bring its ESA claims.

       B. FWS Failed to Assess Effects and Use the Best Available Science.

       As a threshold matter, the agencies are not due the deference they claim because

FWS failed to address a factor that was essential to an informed decision: whether

Willow’s significant GHG emissions would impair polar bears’ recovery and survival. 132



       126
           732 F.3d at 1135.
       127
           Id. at 1143-44.
       128
           Id. at 1146-47.
       129
           947 F.3d at 1164-65.
       130
           Id. at 1171.
       131
           Contra CPAI 48. Because those cases did not involve a procedural right, the
causation and redressability factors were not lessened, as they are here. See supra n.112.
       132
           Brower v. Evans, 257 F.3d 1058, 1067 (9th Cir. 2001). Contra Feds. 55-56;
CPAI 51; NSB 34.

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While agencies receive deference for determining what constitutes the best available

science, incomplete information does not excuse failing to meet this requirement. 133

                  1. Willow’s GHG emissions are effects warranting consultation.

       The record belies Interior’s statements that the agencies consulted on Willow’s

GHG emissions. 134 Neither BLM’s biological assessment nor FWS’s BiOp discuss

Willow’s emissions or climate change-inducing effects. 135 That the final SEIS considered

Willow’s emissions is irrelevant to the question of whether the agencies adequately

analyzed the effects of those emissions under the ESA. 136

                       i.   FWS applied the wrong legal standard in disregarding
                            Willow’s climate effects.

       Defendants argue that current science does not allow the agencies to link a

project’s GHG emissions with decreases in specific areas of sea ice or consequences to

polar bears. 137 This misconstrues the level of certainty required for consideration of

effects under the ESA. While agencies need not evaluate speculative impacts or those


       133
           San Luis & Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 602 (9th Cir.
2014); Brower, 257 F.3d at 1067 (“The deference accorded an agency’s scientific or
technical expertise is not unlimited [and] can be rebutted when its decisions … are not
reasoned.”); cf. Feds 55.
       134
           See, e.g., Feds. 50, 53.
       135
           See Feds. 47; FWS_AR030115-17 (generally acknowledging climate change
affects polar bears, but not addressing Willow’s climate change impacts);
FWS_AR030118-20 (not mentioning Willow’s GHG emissions in effects determination);
FWS_AR032341; see also 50 C.F.R. § 402.14(c)(1)(iv) (explaining action agency must
describe action’s effects during formal consultation).
       136
           Feds. 46-48; SILA 32-39; 50 C.F.R. § 402.14(h)(1)(iii) (requiring BiOp discuss
action’s effects on species and habitat).
       137
           Feds. 51; NSB 30, 34-36; CPAI 44-48.

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with an attenuated causal chain, 138 the record shows that Willow’s climate impacts are

“reasonably certain to occur.” 139

       In interpreting the “reasonable certainty” standard in the context of incidental take,

the Ninth Circuit explained the “lenient standard” is met where FWS has “a reasonable

basis to conclude that a take will occur.” 140 Here, FWS had a reasonable basis to

conclude that Willow’s GHG emissions would have negative consequences on polar

bears. 141 Even assuming the standard for consideration of an effect is “more likely than

not,” 142 the science is clear that any significant additive amount of emissions is more

likely than not inconsistent with the survival and recovery of polar bears. 143 FWS’s

failure to consider Willow’s climate effects based on a lack of “granularity,” 144 a strict

“linear relationship” between emissions and impacts, 145 or an inability to “determine



       138
           NSB 27, 35; CPAI 51, 54. The Borough cites Me. Lobstermen’s Ass’n v.
NMFS, 70 F.4th 582 (D.C. Cir. 2023), but this case is not controlling and inapposite.
There, the agency attributed unknown causes of death to fisheries, which the Court
deemed speculative. Id. at 601. Here, it is undisputed that anthropogenic GHG emissions
are jeopardizing polar bears and Willow would contribute to these emissions. SILA 35 &
nn.127-29.; see also Conner v. Burford, 848 F.2d 1441, 1453-54 (9th Cir. 1988)
(explaining uncertainty does not allow agencies to ignore potential effects).
       139
           50 C.F.R. § 402.02; Id. § 402.14(g)(3)-(4) (requiring BiOp consider direct and
indirect effects).
       140
           Ariz. Cattle Growers’ Ass’n v. FWS, 273 F.3d 1229, 1243 (9th Cir. 2001).
       141
           50 C.F.R. § 402.02 (broadly defining “effects” and agency “action”); SILA 35-
36, 38-39.
       142
           Alaska Oil & Gas Ass’n v. Pritzker, 840 F.3d 671, 684 (9th Cir. 2016).
       143
           Infra n.152-53
       144
           FWS_AR032341.
       145
           FWS_AR032345-46 (BLM analysis); FWS AR032341 (FWS adopting BLM
analysis).

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precise effects to individual animals” unlawfully raises this standard. 146 The Ninth Circuit

has rejected this level of certainty under the ESA. 147 Indeed, the “may affect” standard

sets an even lower bar, requiring consideration of any possible effect on listed species. 148

A lack of specificity for determining precise impacts to individual animals is not an

excuse for FWS to bypass analyzing those impacts altogether. 149 Defendants argue

SILA’s reliance on these phrases fails because FWS was reasonable overall. 150 But the

record demonstrates that the inability to estimate precise impacts was the agencies’ basis

for overlooking Willow’s climate effects. 151

       Current science allows FWS to assess whether an action’s additive emissions are

of a magnitude that is “appreciable” in terms of diminishing the survival and recovery of

polar bears by undermining the reductions needed to avoid sea ice loss. 152 SILA also

identified several studies that describe the relationship between GHG emissions and the


       146
           FWS_AR032345; FWS AR032341.
       147
           SILA 38 & n.142; see also Brower, 257 F.3d at 1070 (“Scientific findings in
marine mammal conservation area are often necessarily made from incomplete or
imperfect information.”).
       148
           See Ctr. for Biological Diversity v. BLM, 698 F.3d 1101, 1122-24 (9th Cir.
2012) (holding FWS’s failure to consider particular effect in BiOp unlawful under the
“may affect” standard); cf. Feds. 53-54.
       149
           See Ariz. Cattle Growers’ Ass’n v. Salazar, 606 F.3d 1160, 1165-67 (9th Cir.
2009) (determining critical habitat by considering species-level use rather than individual
animals where data are inconclusive was proper and comports with ESA’s conservation
goals); AR726844 (explaining jeopardy determination should focus on species’ impacts,
not individual animals).
       150
           Feds. 54; CPAI 54; NSB 35.
       151
           FWS_AR032341-47; see also supra n.29.
       152
           50 C.F.R. § 402.02 (defining jeopardy); see also AR751166-69 (Notz and
Stroeve study quantifying sea ice loss per metric ton of anthropogenic CO2e emissions).

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decline of sea ice and polar bear populations, without needing to quantify specific sea ice

losses from particular emissions. 153 Defendants fail to rationally explain why, in light of

the extensive studies indicating GHG emissions will jeopardize polar bears, FWS lacked

sufficient evidence to provide even a qualitative discussion of Willow’s climate effects

on polar bears.

       ConocoPhillips fabricates new arguments for why the impacts of Willow’s

emissions are marginal to bolster BLM’s conclusion for not considering them. 154 Those

arguments are not reflected in the record. First, FWS did not consider the study by Notz

and Stroeve that would have allowed it to quantify Willow’s emissions. 155 Nor did the

agencies evaluate Willow’s downstream GHG emissions or relate them to sea ice extent

in the context of this study’s findings. Contrary to Interior’s assertion, nothing in the

record indicates that FWS considered the “output” of models quantifying sea ice loss

from Willow’s emissions. 156 As such, there is no basis to conclude that FWS evaluated

Willow’s emissions and reasonably deemed them too “marginal” to consider.




       153
           SILA 36-37 (citing Atwood et al. (2015); Jenssen et al. (2015)); see also
AR725322-28 (Molnár et al. (2020) (examining polar bear persistence under various
emissions scenarios and finding “high greenhouse gas emissions … will jeopardize the
persistence of all but a few high-Arctic subpopulations by 2100”)).
       154
           CPAI 37, 47-48; see also FWS_AR032346.
       155
           AR751166-69.
       156
           Feds. 56. Relatedly, ConocoPhillips’ extra-record declaration describing what
FWS would have found had it performed such an analysis cannot support FWS’s
decision. CPAI 47 n.164; Smith Decl.; see supra n.29; Or. Nat. Desert Ass’n v. BLM, 625
F.3d 1092, 1121 (9th Cir. 2010) (“We cannot defer to a void.”).

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                          ii.   Outdated and inapposite agency findings cannot save FWS’s
                                faulty BiOp.

       Defendants’ reliance on outdated or irrelevant agency decisions and policy

documents to argue FWS is not obligated to consider Willow’s emissions should be

rejected. 157 Contrary to Defendants’ assertions, FWS’s 2008 polar bear listing decision

does not support its actions here. 158 In 2008, FWS did not consult on project emissions

because it was unable to calculate downstream GHG emissions based on the state of the

science. 159 Here, BLM calculated Willow’s additive downstream GHG emissions, 160

rendering those outdated uncertainties irrelevant. The 2008 decision also stated that “[t]he

best scientific data available to [FWS] today does not provide the degree of precision

needed to draw a causal connection” between oil production and a particular impact to

polar bears or sea ice habitat. 161 But FWS had additional information available to it

fifteen years later when it developed the Willow BiOp, which the agency improperly

failed to consider. 162




       157
           Intervenor-Defendants improperly submitted numerous extra-record documents
the agency itself did not consider and that are substantively irrelevant to FWS’s decision
here. CPAI 39-40; NSB 31-32 nn.6-8; Pls. Mot. to Strike 2–3, ECF. 150 (indicating APA
cases are evaluated based on the agency’s record).
       158
           Feds. 51-52; CPAI 38-39; NSB 31.
       159
           73 Fed. Reg. 28,212, 28,300 (May 15, 2008) (citing uncertainties regarding
ultimate production amounts and consumption of oil and gas).
       160
           SILA 14; Feds. 46-48.
       161
           73 Fed. Reg. at 28,300.
       162
           See, e.g., supra n.152-53 (citing recent studies); infra Argument IV.B.2.

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       Defendants also point to a 2008 memorandum by former Secretary Bernhardt

(Bernhardt memorandum) to justify forgoing analyzing Willow’s emissions. 163 Like the

listing decision, the Bernhardt memorandum is based on out-of-date information

regarding the relationship between polar bears and GHG emissions. Interior’s reliance on

In re: Polar Bear Endangered Species Act Listing and 4(d) Rule Litigation and

Intervenors’ citations to various 2008 agency letters are also misplaced. 164 There is no

indication FWS considered Intervenors’ extra-record documents, 165 nor do those 2008

findings evaluate the current state of science. Contrary to ConocoPhillips’ assertions,

FWS not considering GHG emissions under Section 7 previously does not make it lawful

today. 166 FWS cannot rely on outdated agency findings to justify overlooking climate

effects to polar bears based on current scientific literature. 167

       Further, the Bernhardt memorandum, as well as the EPA regulations and FWS’s

emperor penguin listing decision relied on by Defendants, focus on a separate question:

whether GHG emissions can trigger formal consultation or define the action area being




       163
            Feds. 54; CPAI 40; NSB 33.
       164
            Feds. 52; CPAI 39-40; NSB 31-32 nn.6-8.
        165
            Supra n.157.
        166
            See, e.g., Anacostia Riverkeeper, Inc. v. Jackson, 798 F. Supp. 2d 210, 234
(D.D.C. 2011) (explaining longstanding agency practice cannot overcome statutory or
regulatory mandates); CPAI 36, 50.
        167
            Kern Cnty. Farm Bureau v. Allen, 450 F.3d 1072, 1080 (9th Cir. 2006) (the
best available data requirement “prohibits an agency from disregarding scientific data
that is in some way better than the evidence it relies on” (internal brackets and quotation
marks omitted)).

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evaluated. 168 That question is irrelevant to this case. Here, FWS engaged in formal

consultation regarding Willow’s impacts to polar bears. 169 Thus, the extent to which

Willow’s GHG emissions would impact sea ice was already within scope of consultation.

The memorandum does not negate the need to consult on those effects. Contrary to

Defendants’ claims, SILA is not arguing that all actions causing GHG emissions

necessarily trigger ESA consultation for polar bears or sea ice critical habitat. 170 Rather,

where sea ice is part of the action area subject to consultation, FWS cannot ignore the

proposed action’s significant GHG emissions and those emissions’ impacts on sea ice. 171

Moreover, the Ninth Circuit rejected similar arguments that agencies need not assess the

effects of their actions on climate change on the basis that it is a global problem whose

precise impacts are uncertain. 172




       168
           FWS_AR032371-77; Feds. 52; CPAI 41. The emperor penguin listing is even
less applicable because FWS stated it could not determine whether GHG emissions
would cause take of penguins. FWS_AR032341. Whether take will occur is a separate
inquiry from whether an effect warrants consultation. Karuk Tribe of Cal. v. USFS, 681
F.3d 1006, 1028 (9th Cir. 2012) (en banc).
       169
           FWS_AR032530-31.
       170
           CPAI 53; NSB 36-37; see Feds. 52, 54.
       171
           50 C.F.R. § 402.14(h)(1)(iii).
       172
           See, e.g., Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin.,
508 F.3d 508, 550 (9th Cir. 2007) (indicating agency is not excused from assessing the
effects of its actions just because climate change is a global phenomenon), vacated and
amended on other grounds, 538 F.3d 1172 (9th Cir. 2008); Feds. 50-51; CPAI 42; NSB
30.

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                  2. FWS failed to consider the best available scientific information.

       FWS neither acknowledged nor discredited recent studies enabling the agencies to

estimate sea loss from continued GHG emissions in its BiOp or correspondence with

BLM. 173 Indeed, contrary to ConocoPhillips’ assertions, only two studies were cited in

BLM’s letter to FWS explaining that the agency lacked sufficiently granular information

to warrant analysis, neither of which were the studies SILA raised. 174 As a result, this

case is factually inapposite to the cases Defendants cite and no deference is warranted. 175

While FWS acknowledged that polar bears are generally suffering from sea ice decline, it

failed to acknowledge that this decline is due to primarily to anthropogenic GHG

emissions. 176 The ESA’s best available scientific information standard requires the

agency to consider data even if it offers “less than conclusive proof.” 177 The best


       173
            Supra nn.152-53; FWS_AR032549-68 (BiOp not citing Molnár or Notz and
Stroeve studies). Contra Feds. 56. While public comments attached to BLM’s letter cited
Notz and Stroeve, AR513501, there is no indication FWS reviewed this or other relevant
studies prior to deciding it lacked sufficiently specific information to consider Willow’s
climate impacts in the BiOp.
        174
            FWS_AR032347; CPAI 51, 55.
        175
            Feds. 55-56; NSB 34; Kern Cnty. Farm Bureau, 450 F.3d at 1081 (rejecting
claim FWS ignored best available science where it cited studies “at least twenty” times);
San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 995-98 (9th Cir. 2014)
(indicating agency cannot ignore available studies and rejecting challenge because
agency evaluated relevant impacts); Miccosukee Tribe of Indians of Fla. v. United States,
566 F.3d 1257, 1265 (11th Cir. 2009) (noting BiOp addressed issues and statements
raised by Plaintiffs and therefore considered the best available science); Friends of the
Santa Clara River v. U.S. Army Corps of Eng’rs, 887 F.3d 906, 924-25 (9th Cir. 2018)
(explaining BiOp evaluated identified impacts and agency responded to letter flagging
study).
        176
            FWS_AR032485-86.
        177
            Brower, 257 F.3d at 1071; see also 50 C.F.R. § 402.14(g)(8).

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available science demonstrates that continued emissions of GHGs at current or higher

rates will jeopardize polar bears, and FWS’s failure to acknowledge Willow’s

contribution to such impacts was arbitrary. 178

       C. FWS’s Take Findings Are Unlawful and Unsupported by the Record.

                  1. FWS’s interpretation of harassment fails as a matter of law.

       As a threshold matter, FWS acknowledged in the BiOp that its new interpretation

of harassment, requiring specific intent directed towards wildlife, is inconsistent with its

past practice. 179 Accordingly, it is not entitled to deference. 180 Defendants’ briefs assert

that FWS’s ad hoc interpretation is the only reasonable one based on the regulation’s

language and history. 181 If that were true, it begs the question of why FWS misapplied its

regulation for decades. Other BiOps make clear that FWS has not previously interpreted

its harassment definition in this manner. 182 Tellingly, FWS did not rely on this

interpretation to determine the incidental take of other species in the Willow BiOp. 183



       178
            SILA 36.
       179
            FWS_AR032542 (“[FWS] acknowledges that it has not consistently given
effect to the “intentional or negligent” language of its ESA definition of “harass” when
developing biological opinions for polar bears.”).
        180
            See Kisor v. Wilkie, 139 S. Ct. 2400 (2019) (giving no deference to ad hoc
statements); Nat’l Res. Def. Council v. EPA, 526 F.3d 591, 605 (9th 2008) (explaining
inconsistent interpretation receives “considerably less deference”).
        181
            Feds. 61; CPAI 58-60; NSB 37-38.
        182
            See, e.g., 2020_FWS_AR000766 (not requiring any fault by operator in 2020
Willow BiOp incidental take statement); FWS_AR376616 (same for 2019 Nanushuk
project BiOp); FWS_AR376194 (same for 2011 Colville Delta-5 project BiOp);
FWS_AR375976 (same for 2006 Oooguruk project BiOp).
        183
            FWS_AR032540; FWS_AR032503.

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Nor has FWS taken this position in other rulemakings. 184 These post hoc arguments

should be rejected. 185 Additionally, ConocoPhillips’ arguments that the BiOp’s Incidental

Take Statement (or lack thereof) is an “authoritative” policy statement akin to a formal

rulemaking are meritless. 186 The Ninth Circuit declined to extend such deference to

individual permitting decisions. 187

       FWS’s ad hoc interpretation requires ConocoPhillips to have the specific intent to

harass wildlife for there to be an act meeting its regulatory definition of harassment.

Contrary to Interior’s assertions, SILA does not ignore the BiOp’s discussion regarding

“negligence.” 188 But SILA does not allege that ConocoPhillips would negligently carry

out its oil and gas activities. Thus, the proper focus is whether ConocoPhillips’

intentional acts to develop oil and gas would pose the unintended, but foreseeable,

consequence of harassing polar bears. Regardless, SILA explained that harassment

simply requires that ConocoPhillips intentionally or negligently commit acts that create a

likelihood of injury. 189 The regulation’s use of the term “negligence” illustrates SILA’s




       184
            78 Fed. Reg. 11,766, 11,770 (Feb. 20, 2013) (polar bear Section 4(d) Rule
explaining the ESA’s “take restrictions … apply regardless of whether the action causing
take is purposefully directed at the animal or not”); 86 Fed. Reg. 54,642, 54,643-44 (Oct.
4, 2021) (Migratory Bird Treaty Act rulemaking explaining ESA incidental take liability
does not require action directed at wildlife).
        185
            Supra n.82.
        186
            CPAI 60-61.
        187
            Corrigan v. Haaland, 12 F.4th 901, 914 n.6 (9th Cir. 2021).
        188
            Feds. 59.
        189
            SILA 39-41.

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point that specific intent to harass wildlife is not required. In contrast, FWS’s BiOp

required such intent:

              The applicant’s activities … would be conducted with the intent of
       developing and producing oil and gas and without any intent to annoy,
       disturb, or harass polar bears … [and] the applicant’s activities would be
       conducted in accordance with “reasonable measures to avoid injury to” to
       polar bears and any incidental (i.e., not intentional) disturbance of polar
       bears that nevertheless results from the proposed action would not entail
       any “degree of fault, either intentional or negligent”, and thus would not
       constitute “harassment. 190

       Interior states that “the plain language and regulatory history show that FWS

applies ‘harass’ only to (1) intentional harassment of animals and (2) unintentional

harassment traceable to a negligent act or omission.” 191

       Defendants’ arguments regarding the second category are contrary to FWS’s

reasoning in the BiOp. SILA agrees that the regulatory definition of harassment

encompasses “unintentional harassment traceable to a negligent act or omission” 192 or

“[a] negligent act that incidentally causes the likelihood of injury to a listed animal [but]

not done for the purpose of harassing the animal.” 193 This interpretation only requires

intent to engage in the underlying activity. But FWS did not focus its harassment analysis

on such actions. Instead, FWS erroneously applied its interpretation to conclude that no




       190
           FWS_AR032541.
       191
           Feds. 60.
       192
           Id. (emphasis added).
       193
           CPAI 61.

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harassment would occur “negligently” unless ConocoPhillips failed to comply with polar-

bear-specific mitigation measures. 194

       FWS’s regulation simply requires ConocoPhillips intend to commit the act that

causes the annoyance, regardless of whether mitigation measures are followed or not. 195

As factual matter, harassment could occur while ConocoPhillips negligently undertakes

its oil and gas activities because polar bear mitigation measures do not cover all possible

actions. For instance, ConocoPhillips personnel could negligently drive a vehicle and

disturb bears without violating any applicable polar bear mitigation measure. 196

Compliance with mitigation measures does not mean harassment could not occur.

       Interior’s characterization of intentional harassment is also fundamentally flawed

because it is contrary to the regulation’s plain language. “Harassment” is defined as “an

intentional or negligent act or omission which creates the likelihood of injury to wildlife

by annoying it to such an extent as to significantly disrupt normal behavioral patterns

which include, but are not limited to, breeding, feeding, or sheltering.” 197 The terms

“intentional or negligent” inform the immediately following terms “act or omission,” not




       194
           FWS_AR032541; see also Feds. 58-59 (arguing same).
       195
           50 C.F.R. § 17.3.
       196
           See, e.g., FWS_AR032516 (noting vehicle disturbance would occur throughout
project life and be greatest during construction); FWS_AR032412-13, FWS_AR032420
(prohibiting chasing wildlife, requiring certain vehicles and den avoidance, but not
mitigating vehicle noise or activity extent).
       197
           50 C.F.R. § 17.3.

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the later phrase: “injury to wildlife.” 198 This definition does not require any intentional or

negligent behavior directed towards wildlife; FWS’s interpretation is erroneous. 199

       Defendants also point to FWS’s 1975 regulations, which indicate that the agency

sought to avoid take liability attaching regardless of intent or negligence. 200 But again,

this simply indicates harassment requires the intent to take an underlying action.

       As SILA explained, an act done with the specific intent to impact the species

cannot qualify as incidental take under the ESA. 201 An individual cannot seek

authorization to purposefully harass polar bears via an incidental take statement. 202

Congress chose the word “incidental” specifically “to cover situations in which it is

known that a taking will occur if the other activity is engaged in but such taking is

incidental to, and not the purpose of, the activity.” 203 As a practical matter, FWS's

interpretation would preclude harassment from being covered in an ITS, subject to the




       198
           See U.S. v. Price, 980 F.3d 1211, 1218 (9th Cir. 2020) (applying “the most
natural grammatical reading of a statute”); Hall v. U.S. Dep’t of Agric., 984 F.3d 825, 838
(9th Cir. 2020) (explaining modifiers normally apply to the closest language).
       199
           See Babbitt v. Sweet Home Chapter of Cmtys. for a Great Or., 515 U.S. 687,
700-01 (1995) (rejecting interpretation of ESA “harm” that would require “a direct
application of force” against listed species).
       200
           Feds. 59-60; CPAI 59-60.
       201
           SILA 40-41; see also FWS_AR032542-43 (distinguishing between intentional
and incidental take).
       202
           16 U.S.C. § 1539(a)(1)(B).
       203
           H.R. Rep. No. 97-567, at 31 (1982); Babbitt, 515 U.S. at 704-05 (explaining
Congress intended “take” to apply broadly to cover indirect actions).

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ESA’s protective mandates. 204 Excluding acts of harassment from incidental take

contravenes the ESA’s plain language and Congress’ intent. 205

       FWS’s ad hoc definition would also create an unsupported distinction between the

ESA and Marine Mammal Protection Act (MMPA). 206 The MMPA generally prohibits

take with some exceptions, 207 including allowing the Secretary to permit the “incidental,

but not intentional” take of a marine mammal. 208 Marine mammal take must be

authorized under the MMPA before it can be permitted under the ESA’s incidental take

statement requirements. 209 FWS’s ad hoc definition of harassment as requiring specific

intent directed at wildlife, or occurring out of compliance with required mitigation,

cannot be authorized as incidental take under the MMPA. 210 As such, FWS’s ad hoc

interpretation would mean that ESA “harassment” would rarely, if ever, comply with the




       204
           SILA 33 (explaining incidental take statement’s protective functions).
       205
           Zuniga v. Barr, 946 F.3d 464, 470 (9th Cir. 2019) (rejecting interpretations of
regulations inconsistent with statute); SILA 33.
       206
           CBD I, 982 F.3d at 74142 (explaining applicability of both statutes where FWS
may authorize take of marine mammals).
       207
           16 U.S.C. §§ 1371(a), 1372(a).
       208
           Id. § 1371(a)(5)(A)(i).
       209
           Id. § 1536(b)(4)(C).
       210
           Id. § 1371(a)(5)(A)(i); 50 C.F.R. § 18.125(b) (requiring compliance with terms
and conditions of a letter of authorization under the MMPA); see also FWS_AR032543
(BiOp acknowledging treating intentional acts as incidental take would create
inconsistencies between the statutes).

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MMPA. The Court should reject any interpretation of harassment rendering the ESA’s

requirements to ensure MMPA compliance surplusage. 211

                  2. FWS unlawfully failed to issue an Incidental Take Statement for
                     Polar bears.

       Interior points to statements in the BiOp regarding the distance of Willow’s

infrastructure from the coast to imply that harassment is not reasonably certain because

the project is inland. 212 Willow is within ESA-designated critical habitat, 213 and its

infrastructure overlaps with potential terrestrial denning habitat — i.e., areas deemed

suitable for denning, despite their inland location. 214 Given that the agencies

acknowledge the presence of polar bears and their habitat in the project area, these

arguments should be rejected.

       Interior also argues that because FWS’s model predicted a low probability of

potential MMPA Level A take or lethal take of cubs, there is no basis for finding ESA

harassment of maternal bears prospecting for den sites. 215 This misconstrues SILA’s

argument. Regardless of the model’s findings related to cubs, FWS found that Willow

could affect maternal bears in multiple ways, including by altering movements,


       211
           League of Conservation Voters v. Trump, 363 F. Supp. 3d 1013, 1018 (D.
Alaska 2019) (giving effect to all statutory provisions and not rendering parts
superfluous).
       212
           Feds. 62; NSB 41-42; CPAI 64.
       213
           FWS_AR032488.
       214
           FWS_AR032490 (map of polar bear critical habitat and potential terrestrial
denning habitat overlapping Willow infrastructure); AR824103-04 (describing habitat in
Willow area).
       215
           Feds. 62-63.

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disturbing females at dens, or causing den abandonment. 216 It is also undisputed that

FWS’s model did not forecast whether adult females prospecting for den sites could

suffer injury — FWS’s model only considered potential injury to denning cubs. 217

       Defendants characterize impacts to maternal bears as not being “biologically

significant” based on FWS’s other findings in the BiOp. 218 But these record cites do not

undercut FWS’s finding that Willow could disrupt maternal bears’ behavior. 219 Nor did

FWS explain its assumption that polar bears can simply move away from disturbance,

and thereby avoid harassment, in the context of such disturbances impairing breeding in a

population already suffering from reduced denning and reproductive success. 220 While

Interior argues that maternal bears would not be disturbed more than other non-denning

bears, this overlooks that ESA harassment specifically includes disturbances that interfere

with breeding and sheltering. 221 Indeed, the Ninth Circuit acknowledged that den

abandonment and relocation may qualify as ESA harassment. 222


       216
            FWS_AR032517.
       217
            FWS_AR032580. Defendants’ argument that the model did not find potential
injury to adult bears omits the fact that the model did not evaluate it. Feds. 62-63; NSB
42-43; CPAI 64-66; but see SILA 43 (explaining model assumed all non-lethal take of
adults would be limited to MMPA Level B harassment).
        218
            Feds. 57-58; CPAI 62; NSB 38-39; see also FWS_AR 032516-17.
        219
            FWS_AR032517.
        220
            FWS_AR032484-85, FWS_AR032469-70.
        221
            50 C.F.R. § 17.3.
        222
            See CBD I, 982 F.3d at 750-51 (“These disturbances implicate disruptions in
behavioral patterns contemplated in the ESA and MMPA, such as polar bears’ breeding
and sheltering.”); see also Babbitt, 515 U.S. at 710 (O’Connor, J., concurring) (noting
“injure” is defined in dictionary as “to impair” and explaining that impairing an animal’s
ability to breed qualifies as “injury” under the ESA).

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            To the extent Interior argues that mitigation measures would minimize impacts to

 non-denning polar bears, FWS acknowledged in the BiOp that compliance with

 mitigation measures would not foreclose the potential for disturbance effects. 223 The

 other reasons Interior points to in support of FWS’s finding that transient bears would not

 be impacted relate to the project’s location, which, as explained, does not negate potential

 injury to polar bears. 224 Additionally, the Borough’s assertion that denning bears tolerate

 exposure and that mitigation measures would preclude denning impacts overlooks that

 SILA’s argument focuses on maternal bears prospecting for den sites. 225

            For the reasons described above, BLM’s reliance on FWS’s BiOp also violates the

     ESA.

V.      VACATUR IS WARRANTED.

            The default remedy of vacatur is warranted. 226 Interior presents no argument on

 remedy. 227 Intervenor-Defendants do not meet their burden to show that this case is one

     of the “rare circumstances” to deviate from the presumptive remedy. 228




            FWS_AR032522.
            223

            Feds. 64 (citing FWS_AR 032516-17).
            224
        225
            NSB 42; SILA 43-44.
        226
            SILA 44-47; see also Dep’t of Homeland Sec., 140 S. Ct. at 1901 (explaining
 because agency decision violated APA, it “must be vacated”); AIDEA, 2023 U.S. Dist.
 LEXIS 136474, at *35 n.153 (explaining vacatur is presumptive remedy for NEPA
 violations).
        227
            Feds. 66-67.
        228
            SILA 45 & n.169.

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       Most importantly, allowing Willow to proceed will result in significant and

permanent environmental harm to the Reserve and subsistence resources. 229 Kuukpik’s

and the State’s argument that vacating will cause environmental harm because

environmentally beneficial mitigation measures will not be carried out is circular. 230

Mitigation is only needed because of the harms from building Willow; without the

project, there are no harms to mitigate. The State’s argument that vacatur could lead to

environmental harm from additional disturbance of the already-developed area is refuted

by ConocoPhillips’ assertion that interim reclamation activities secured those sites. 231

Because this case is not one where vacatur would cause environmental harm, but would

instead protect the area, vacatur is strongly favored. 232

       Regarding the seriousness of the errors, the errors are neither minor nor procedural

defects that can be easily fixed. 233 A fundamental purpose of NEPA is to ensure agencies


       229
           SILA 46.
       230
           Kuukpik 31-32; SOA 25-26.
       231
           ConocoPhillips Alaska, Inc.’s Opp’n to Mots. for Inj. Pending Appeal at 24,
Case No. 23-35226, ECF 18-1. The State’s argument that tundra travel causes greater
harm than permanent gravel roads strains credulity. SOA 27.
       232
           Cf. Pollinator Stewardship Council v. U.S. EPA (Pollinator), 806 F.3d 520, 532
(9th Cir. 2015) (vacating where leaving rule in place “risks more potential environmental
harm”); Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405-06 (9th Cir. 1995) (not
vacating because it could lead to “potential extinction”); Ctr. for Food Safety v. Vilsack,
734 F. Supp. 2d 948, 951 (N.D. Cal. 2010) (recognizing “limited circumstances” for
remand without vacatur, “namely [when] serious irreparable environmental injury [will
occur if the decision is vacated]”).
       233
           See California v. Bernhardt, 472 F. Supp. 3d 573, 630 (N.D. Cal 2020)
(“[C]ourts generally only remand without vacatur when the errors are minor procedural
mistakes ….”) (quoting California v. BLM, 277 F. Supp. 3d 1106, 1125 (N.D. Cal.
2017)); cf. SOA 24-25; Kuukpik 35-36.

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have information about the impacts of a proposal to make an informed choice before

taking action. 234 If projects can proceed in the face of an incomplete analysis, that

purpose is stymied. 235 The alternatives analysis is the “heart” of an EIS and the failure to

consider a reasonable alternative makes an EIS inadequate. 236 ANILCA Section 810

substantively protects subsistence uses and users in land management decisions. 237 The

NPRPA requires maximum protection of Special Areas and protection of all surface

resources alongside oil and gas. 238 And the ESA prioritizes protecting endangered and

threatened species and their habitat by requiring consultation to ensure against

jeopardy. 239 Because the agency’s errors are substantive, based on invalid legal

justifications, and go to the fundamental purposes of the statutes, this factor strongly

favors vacatur. 240


       234
            Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989).
       235
            See Or. Nat. Desert Ass’n v. Zinke, 250 F. Supp. 3d 773, 774 (D. Or. 2017)
(explaining seriousness of errors is based on purposes of statute; finding serious error
from NEPA failures); Klamath-Siskiyou Wildlands Ctr. v. Nat’l Oceanic & Atmospheric
Admin., 109 F. Supp. 3d 1238, 1245 (N.D. Cal. 2015) (failing to analyze cumulative
impacts rarely minor error); see also Pub. Emps. for Envtl. Responsibility v. FWS, 189 F.
Supp. 3d 1, 2-3 (D.D.C. 2016) (explaining D.C. District Courts routinely vacate for
NEPA violations).
       236
            40 C.F.R. § 1502.14; Westlands Water Dist., 376 F.3d at 865; see also Ctr. for
Biological Diversity v. BLM (CBD II), 2023 U.S. Dist. LEXIS 97282 (D. Idaho June 2,
2023).
       237
            16 U.S.C. §§ 3111, 3112, 3120.
       238
            42 U.S.C. §§ 6504(a), 6506a(b).
       239
            16 U.S.C. §§ 1536(a); see also Cottonwood Envtl. Law Ctr., 789 F.3d at 1090.
       240
            Cf. League of Wilderness Defenders/Blue Mountains Biodiversity Project v.
U.S. Forest Serv., 2012 U.S. Dist. LEXIS 190899, at *9 (D. Or. Dec. 10, 2012) (noting
courts decline to vacate when doing so is against “the very purpose of the underlying
statutes”).

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       Intervenor-Defendants present many arguments focusing on the disruptive

consequences of vacatur. 241 But the disruptive consequences of vacatur are evaluated in

in light of the likelihood that a decision will remain unchanged following remand. 242

Given the seriousness of Interior’s errors, it is likely that Interior could and would reach a

different decision following remand. 243 Therefore, the disruptive consequences are

entitled to less weight. 244

       ConocoPhillips relies heavily on expenditures, contracts, and present and future

investments to argue that the disruptive consequences overcome vacatur. 245 It points to

money spent to date — including while this case moves forward, knowing SILA sought

vacatur — as well as expenses and contracts expected for next season. 246 This argument

should be rejected because it incentivizes companies to spend up front to avoid




       241
           See, e.g., CPAI 68-69; NSB 43-44.
       242
           Pollinator, 806 F.3d at 532.
       243
           See NRDC v. EPA, 38 F.4th 34, 51-52 (9th Cir. 2022) (vacating because not
possible to predict if agency would reach same outcome); Cascadia Wildlands v. BLM,
2021 U.S. Dist. LEXIS 215907, *35-36 (D. Or. Sept. 13, 2021) (explaining substantive
errors more serious than procedural and make it unlikely agency can fix issue on
remand).
       244
           See Pollinator, 806 F.3d at 532 (explaining that if different decision “may be
reached,” disruptive consequences are undermined); Ctr. for Food Safety, 734 F. Supp.
2d at 952.
       245
           CPAI 68-69.
       246
           Id., see also Decl. of Connor A. Dunn. ¶¶ 3-11, ECF. No. 141-2.
ConocoPhillips’ lack of a final investment decision considerably undercuts its concerns
about the economic impact of vacatur.

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vacatur. 247 ConocoPhillips also revives its previously-rejected argument that vacatur will

result in the project never being built. 248 While ConocoPhillips may desire more

certainty, it has multiple avenues available to retain its leases. 249

       Intervenor-Defendants also present several arguments asserting lost jobs, and

decreased revenues, royalties, taxes, dividends, and grants. 250 These are all speculative

because ConocoPhillips still has not made a final investment decision. 251 Regardless,

these benefits can still be obtained if the project is approved in the future, including the

ability to use fabricated project components and equipment.

       Finally, Intervenor-Defendants present an incomplete reading of California

Communities Against Toxics v. U.S. EPA (California Communities) to argue that

economic and jobs impacts overcome vacatur. 252 There, the Court relied on more than

economic and jobs impacts when declining to vacate. Instead, the Ninth Circuit

determined that vacating the rule would lead to increased air pollution, “the very danger



       247
           CBD II, 2023 U.S. Dist. LEXIS 97282, at *7, *16-18, *24-29 (vacating
approvals for partially constructed road for NEPA violations; finding mining company’s
economic harm does not tip scales away from vacatur).
       248
           CPAI 69; Order re Mots. For Temp. Restraining Order and Prelim. Inj. at 36
n.144, ECF No. 74.
       249
           42 U.S.C. § 6506a(i)(6); see also id. § 6506a(i)(3) (directing renewal of non-
producing leases if diligence by lessee); 43 C.F.R. §§ 3135.1-5(b), 3135.2(b), (c)
(allowing lease suspension). ConocoPhillips acknowledges that this factor is a risk to
evaluate, but not determinative. Dunn Decl. ¶ 17.
       250
           ASRC 22-24; SOA 25, 28-30, 32-33, 35-36; CPAI 69; NSB 43-45; Kuukpik
32-35.
       251
           SILA 47 n.180.
       252
           See, e.g., CPAI 70; ASRC 21; SOA 35.

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the Clean Air Act aims to prevent,” and require duplicative legislation. 253 It was,

therefore, a combination of the environmental harm and disruptive consequences beyond

just economics that resulted in the Court leaving the rule in place. 254 California

Communities instructs that vacatur is warranted here because there will be no

environmental harm from vacating and the disruptive consequences do not rise to the

level warranting a departure from the default remedy.

                                      CONCLUSION

       This Court should grant SILA’s Motion for Summary Judgment and vacate the

agencies’ decisions.

       Respectfully submitted,


                                           s/ Bridget Psarianos
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       253
            688 F.3d 989, 993-94 (9th Cir. 2012); cf. Solar Energy Industries Ass’n v.
FERC, No. 20-72788, slip op. at 81-83 (9th Cir. Sept. 5, 2023) (identifying need for
states, utilities, and FERC to readopt rules if 2020 order is vacated).
        254
            Cal. Cmtys., 688 F.3d 989; cf. Nat’l Family Farm Coal. v. EPA, 960 F.3d 1120,
1145 (9th Cir. 2020) (vacating herbicide registrations despite economic impact given
EPA’s errors).

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                         CERTIFICATE OF COMPLIANCE


      Pursuant to Local Civil Rule 7.4(a)(3), I certify that this brief contains 11,384
words, excluding items exempted by Local Civil Rule 7.4(a)(4). Plaintiffs’ Unopposed
Motion to File Overlength Reply is submitted concurrently.


                                                     s/ Bridget Psarianos
                                                     Bridget Psarianos


                            CERTIFICATE OF SERVICE

       I certify that on September 15, 2023, I caused a copy of the PLAINTIFFS’
REPLY IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT to be
electronically filed with the Clerk of the Court for the U.S. District Court of Alaska
using the CM/ECF system.



                                                     s/ Bridget Psarianos
                                                     Bridget Psarianos




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